                                          COURT OF APPEALS FOR THE
                                     FIRST DISTRICT OF TEXAS AT HOUSTON

                            ORDER WITHDRAWING MEDIATION ORDER



Cause number:               01-18-00577-CV

Style:              Shatish Patel, M.D., Hemalatha Vijayan, M.D., Subodh Sonwalkar, M.D.,
and Wolley Oladut, M.D. v. St. Luke's Sugar Land Partnership, L.L.P.



      Appellee, St. Luke's Sugar Land Partnership, L.L.P. has objected to mediation.
The Court’s mediation order dated August 3, 2018 is withdrawn.

Judge's signature: /s/ Michael Massengale
                    Acting individually



Date: August 14, 2018
*       Absent emergency or a statement that the motion is unopposed, must wait ten days before acting on motion except for
        motion to extend time to file a brief. See TEX. R. APP. P. 10.3(a).
Note:   Single justice may grant or deny any request for relief properly sought by motion, except in a civil case a single justice
        should not: (1) act on a petition for an extraordinary writ or (2) dismiss or otherwise determine an appeal or a motion
        for rehearing. TEX. R. APP. P. 10.4(a).
